    Case 19-06512-jw           Doc 50       Filed 05/13/20 Entered 05/13/20 12:33:33                   Desc Generic
                                               Text Order Page 1 of 1
950BNC


                                               United States Bankruptcy Court
                                                  District of South Carolina


Case Number: 19−06512−jw                                       Chapter: 13

In re:
 Brian James Macdonald
 aka Brian J. Macdonald, aka Brian MacDonald




                                                                                                    Filed By The Court
  Entered By The Court                                    ORDER                                           5/13/20
         5/13/20                                                                                       Laura A. Austin
                                                                                                        Clerk of Court
                                                                                                     US Bankruptcy Court


Order Granting Request to Continue. The Confirmation Hearing is Continued. AND IT IS SO ORDERED. Signed by: Judge John
E. Waites, US Bankruptcy Court − District of South Carolina (related document(s)[49], [35]). Hearing scheduled for 7/22/2020 at
10:00 AM at Charleston. The case judge is John E. Waites.




                                                                United States Bankruptcy Judge
